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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A, JONES I,

Plaintiffs,

Vv. CASE NO.: 8:21-cv-00555-SDM-CPT

CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

Defendant,
/

 

DEFENDANT SHERIFF’S MOTION TO 1) OVERRULE OBJECTIONS TO
INTERROGATORIES BY ALL PLAINTIFFS, AND 2) TO COMPEL
BETTER ANSWERS TO INTERROGATORIES BY PLAINTIFFS TAYLOR
AND DEEGAN

Defendant Sheriff Nocco, by and through undersigned counsel and pursuant to
the provisions of Federal Rules of Civil Procedure 26, 37, and Section IV(C)(2) of
Middle District Discovery Handbook (2021), moves the Court for an Order
overruling objections to Interrogatories 12, 13, and 14 by all Plaintiffs and
specifically requiring that Plaintiffs Taylor and Deegan provide better answers to
those Interrogatories, and states:

1. The four named Plaintiffs have brought claims under Monell v. Dep’t of

Soc. Servs., 436 U.S. 658 (1978) against Pasco County Sheriff Chris Nocco in his

official capacity asserting that Pasco County Sheriff's Deputies violated their
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constitutional rights during multiple incidents. Plaintiffs assert that these violations
were caused by the Sheriff's “Tntelligence-Led Policing Program,” or ILP. (Doc. 1, |
2).

2. A Monell claim has three distinct components: first that Plaintiff's
underlying constitutional rights were violated; second, that an official policy or
custom of the Sheriff was deliberately indifferent to that right; and third that the
policy or custom was the actual cause behind the underlying constitutional violation.
McDowell v. Brown, 392 F.3d 1283, 1289 (11" Cir.2004). It is well-settled that if
there is no underlying constitutional violation, then the issue of policy or custom is
rendered moot. Rooney v. Watson, 101 F.3d 1378, 1381 (11 Cir. 1996).

3. A review of the general records of the Plaintiffs show over 200 total
interactions between they and Pasco County Sheriff's Deputies. (See Exhibit A),
On the face of these Sheriff's Office documents, a large number resulted from service
of arrest or search warrants, not ILP. Some appear to be based on calls for service
from Plaintiffs, themselves. Nonetheless, the Complaint in this case lumps these
incidents together and in broad terms ties all of them to ILP. Defendant filed a
motion to dismiss the complaint, in part on grounds that by combining all of these
claims into singular and counts that the Defendant cannot reasonably respond. The

Court has recently denied the motion as to that ground. (Dkt. 30).
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4, While that motion to dismiss was pending, and in an effort to try to
determine which of these 200-plus incidents Plaintiffs actually claim represent a
constitutional violation with a causal connection to ILP, Defendant on June 21, 2021,
propounded interrogatories to each of the four Plaintiffs. After a brief extension, to
which Defendant agreed, Plaintiff served their answers to the interrogatories on July
26, 2021. This motion deals with interrogatories 12, 13 and 14. These interrogatories
sought the most basic of information on the claims of underlying constitutional
violations, i.e. whose constitutional rights were violated when, by whom, and with
what connection to ILP.

The interrogatories are:

12. State the dates of all interactions you have had with the Pasco

Sheriff's Office that you claim were caused as a result of the
Intelligence-Led Policing Program, and state the outcome of

any such interactions, including whether you were detained,
searched and/or arrested.

13. For those incidents listed in your response to Question 12, state
the factual basis for your claim that the Intelligence-Led
Policing Program was the cause of the interactions you had had
with the Pasco Sheriffs Office

14. Identify any and all Pasco Sheriff's personnel who you contend
informed you that they interacted with you due to the
Intelligence-Led Policing Program, and the substance of and
dates of any such statements.
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5. In response to these requests each Plaintiff asserted the same objection:
Plaintiff objects that this interrogatory seeks information already in the
possession of the Defendant. As Defendant maintains detailed records

in connection with the matters identified in this interrogatory, Defendant

has better relative access to the requested information. Fed. R. Civ. P.

26((b)(1). Plaintiffs are seeking this information in their own discovery

requests, which Defendant so far has not answered.
see Interrogatory Responses of Taylor (Exhibit B, pp. 6-7; Interrogatory Responses
of Heilman (Exhibit C, pp. 6-7); Interrogatory Responses of Deegan, (Exhibit D, pp.
6-8); Interrogatory Responses of Jones (Exhibit E, pp. 6-8). Then, notwithstanding
the objections, the Plaintiffs answered the interrogatories to varying degrees, as
described below.

6. As an. initial matter, the Court should overrule this objection as to all
four Plaintiffs. Plaintiffs have brought these claims and should be required to
identify at the outset the specific incidents they claim represent underlying
constitutional violations under Monell. That is their threshold burden in pleading and
proof for such a claim and it is unreasonable to expect the Defendant Sheriff to

review all 200-plus of these incidents to figure out which of them might be at issue in

this case.
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7. Notwithstanding the objection each Plaintiff then answered the
interrogatories at different levels of specificity. Substantively, Plaintiffs Taylor and
Deegan provided inadequate responses altogether and should be compelled to
provide better answers. Plaintiff Taylor provided virtually no information in
response to interrogatory 12, stating initially “I do not remember the dates of each
time PCSO deputies came to visit me.” She offered no dates for any interaction, at
all, instead saying that between the time she was released from prison in 2017 and the
date she read an article in the Tampa Bay Times in 2020 that deputies “came to my
house all the time, and sometimes as often as every other day” and that “[t]hey
always wanted to come inside the house to talk to me and ask me questions about
what I was up to and who I was hanging out with.” (Exhibit A, p. 6.).

She does refer to one specific incident on New Year’s Day, year unknown, in
which an unidentified friend asked unidentified deputies to stop coming by, the
deputies stating that they would keep coming back for a couple of years. She gleaned
an association with ILP only because she was messaged on Facebook and then
visited by a reporter from the Tampa Bay Times who told her there was a connection
to DLP.

This does not reasonably advise the Court or the Defendant what the basis is

for Plaintiff Taylor to contend that a visit on a particular date was caused by ILP,
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much less does it advise the Court or the defense what the underlying constitutional
violation was on that date and how it is connected to ILP, as is required under
Monell. When asked in interrogatory 14 to identify any deputy who made any
statement to corroborate what the reporter told her as to ILP linkage, her response
was “Multiple different deputies came to my house. I don’t remember their names.”
(Exhibit A, p. 7).

8. Other sets of responses by other Plaintiffs are marginally better and,
while providing some information, fall short of simply stating the incident date and
the nature of the incident. At least Plaintiffs Jones and Heilman provide sufficient
information to begin to identify interactions they would allege represented
constitutional violations by providing dates and details of incidents.

9. However, similar to Plaintiff Taylor, Plaintiff Deegan’s answers should
be deemed insufficient and both she and Plaintiff Taylor should be required to
provide better answers. Specifically, Plaintiff Deegan in response to interrogatory 12
stated that deputies visited her home “regularly” between 2016 and 2019 and that
deputies were “frequently parked outside my house.” She states she does not
remember the dates of each incident. She does recount an incident in October 2017
involving an undefined “raid” and code violations in June 2018 and 2019, but she

does not indicate the cause or the outcome of any of these. i.e. did she pay citations
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for the code violations, was the “raid” the result of service of a search or arrest
warrant. No indication is given as to in what respect these incidents are caused by
ILP.

When asked to provide the factual basis for the claim that a given incident was
caused by ILP, her answer is that she believes this to be the case because an
unidentified deputy told her that her son was a “Top 5 Offender” and that it is
connected to ILP based on newspaper articles she read and having been told so by
Plaintiffs’ counsel. In response to interrogatory 14, she identifies one Detective,
Eric Pfenninger, who gave her a business card after telling her that her son was a
“Top 5 Offender.”

No other information is provided, and critically no date is given for an incident
in which the son being a “Top 5 Offender” actually caused a violation of Plaintiff
Deegan’s underlying constitutional rights, which is step one in a Monell claim. It is
thus not possible for Defendant to, for example, raise a statute of limitations defense;
a defense under Heck v. Humphrey, 512 U.S. 477 (1994) (§1983 claimant may not
claim false arrest for charge on which he was and remains convicted); or an

abstention defense to a given claim of an underlying constitutional violation. !

 

' If the claim is that Deegan was unconstitutionally given a citation for a code
violation but she paid it or it remains undisturbed, then a claim based on that

citation would not be a viable underlying constitutional violation under the
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10. In sum, Defendant submits that the identical objections offered by each
Plaintiff to Interrogatories 12, 13, and 14 should be overruled. Plaintiffs Jones and
Heilman should thus be bound and limited in this litigation to the incidents described
in their current responses. Plaintiffs Taylor and Deegan should be compelled to
provide better answers, such that Defendant may meaningfully prepare for and
defend as to each claimed underlying constitutional violation. |

11. LOCAL RULE 3.01(G) CERTIFICATION. Pursuant to Local Rule
3.01(g), undersigned counsel spoke with Plaintiffs’ counsel Ari Bargil, Esq., on
August 5, 2021 concerning the matters raised in this motion. While the discussion
was helpful in narrowing the issues, no agreement could ultimately be reached.

WHEREFORE, Defendant Sheriff Nocco moves he Court for entry of an
Order overruling Plaintiff's objection to Interrogatories 12, 13, and 14 and

compelling better responses to those Interrogatories by Plaintiffs Taylor and Deegan.

 

Rooker-Feldman doctrine. Valentine v. BAC Home Loans Servicing, L.P., 635
F.App’x 753, 756 (11" Cir. 2016) (“district court lacks jurisdiction over claims
‘brought by state-court losers complaining of injuries caused by state-court
judgment rendered before the district court proceedings commenced and inviting
district court review and rejection of those judgments.”) (quoting Exxon Mobil
Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005).

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MEMORANDUM OF LAW

Pursuant to Local Rule 3.0l(a), Defendant submits the following
Memorandum of Law in support of the instant motion.

Interrogatory Number 12 has an element of “contention interrogatory” to it in
that it asks each Plaintiffs to identify which incidents or interaction they have had
with deputies that the Plaintiff claims were caused by ILP. Similarly, interrogatory
13 asks that for each such incident the Plaintiff identify the factual basis for that
Plaintiff's claim that ILP caused the interaction with deputies. Clearly, the import of
these interrogatories 1s to begin the process of fundamentally identifying the claims
of underlying constitutional violations in this case. It is, after all, step one of any
Monell claim to articulate the underlying constitutional violations.

As this Court has held, contention interrogatories are disfavored. Endurance
American Specialty Insurance Co. v. Liberty Mutual Insurance Co., 2018 WL
7352150 *3 (M.D.Fla. December 20, 2018). But, such interrogatories have their
place, particularly where they serve the purpose of “narrowing and sharpening
issues.” /d., (citing advisory committee notes to 1970 and 2007 amendments to
Federal R. Civ. P. 33.) Defendant believes that to be the case here because, as of
right now, Defendant does not have a reasonable basis to understand exactly what he

is being sued for.
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Moreover, these are not purely contention interrogatories. For example,
Interrogatory 12 asks each Plaintiff to indicate the outcome in each case, i.e. was the
Plaintiff detained, arrested, searched. This information is important for the defense to
have so that the Defendant understands in each such situation whether the issue is
reasonable suspicion for detention or search, probable cause for arrest, or whether for
example a Heck v. Humphrey or other abstention doctrine defense will apply.

As noted above undersigned counsel spoke with Mr. Bargil, counsel for
Plaintiffs, concerning this matter. Based on that discussion, it is the defense
impression that the Plaintiffs believe this motion is premature. Plaintiffs were
previously provided a list of the 200-plus incidents. As Defendant understands it,
counsel has or soon will discuss those interactions with the named Plaintiffs and then
seek from the Defendant documentation concerning the incidents that might, in
Plaintiffs’ view, be ILP-related or which might represent underlying constitutional
violations per Monell. Plaintiffs can then narrow their claims to specific incidents.’

Defendant appreciates the logic of that approach but such investigation should
have occurred prior to filing of the lawsuit so that the parties and the Court could

understand the universe of incidents which are actually relevant to the claims in the

 

* To that end, on August 10, 2021, Plaintiffs served discovery on the Defendant
which seeks documentation or records concerning specific incidents involving
Plaintiffs.

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case under Monel/. Defendant highlights this issue because the delay this causes is
prejudicial to the Defendant as the Court has placed this case on an expedited
schedule of sorts which makes it impractical for the defense to wait for all of that to
occur.

When the Case Management Order was initially entered (Doc. 23), Defendant
was surprised to see a discovery completion deadline of December 27, 2021.
Defendant asked that the Court reconsider these initial deadlines. (Dkt. 24). The
Court seemed skeptical of Defendant’s contention that the number of incidents here
is over 200, stating that the Defendant sought much longer dates for discovery based
on “an ostensible” need to investigate these incidents. (Dkt. 28). As shown by
Exhibit A, there are a large number of incidents and Plaintiffs have only now begun
to work to narrow that list down to the incidents which will ultimately form the basis
of a claim for trial.

As predicted, the Defendant finds himself in a situation where two of the
named Plaintiffs have not specified at all when and how their constitutional rights
were violated and the other two Plaintiffs have given loose descriptions which
Defendant can at least try to work with, but will still take considerable time and effort
to work through. Plaintiffs’ counsel states that Plaintiffs wish to cooperate with the

defense to identify the relevant incidents and will endeavor to do so at some

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unidentified point in the future, and Defendant appreciates that good faith position,
but it still means the Defendant does not know in the first instance exactly what the
claims are in this case.

Plaintiffs have advanced this case as a collective attack on the ELP and the
District Court has so far allowed the case to continue on that basis, at least to
summary judgment. But that does not change the fact that Plaintiffs must identify
the alleged underlying constitutional violations in some form that allows the
Defendant to understand and defend against the claims made. The Court should
overrule the objections to the interrogatories and require the Plaintiffs to identify
the precise incidents and precise claims sued upon for each incident so that the

litigation might have workable guardrails.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 12th day of August, 2021, I electronically
filed the foregoing with the Clerk of the Court by using the CM/ECF system which
will send a notice of electronic filing to the following: Ari S. Bargil, Esquire
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